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UNITED STATES DISTRICT COURT
FOR THE zoos ins \2 va 3= l»3
WESTERN DISTRICT OF TENNESSEE

 
 

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UNITED STATES OF AMERICA

vs.
CR. NO. 05-20251-Ma

ALANDUS LANE,

APPL|CAT|ON ORDER and WR|T FOR HABEAS CORPUS AD PROSEQUENDUM

 

Camiile R. McMu|len, Assistant United States Attorney applies to the Court for a Writ to
have A|andus Lane, DOB 8!13/1974, SSN XXX-XX-XXXX now being detained at the Shelby
County Jai|, Memphis, Tennessee, to appear before the Honorabie U.S. District Judge Tu M.
Pham on August 15, 2005, at 2:00 p.m., an initial appearance and for such other appearances
as this Court may direct.

Respectfu||y submitted this 12th day of August, 2005

 
 
       

Ass sta . Attor ey

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Upon consideration of the foregoing Application,
DAV|D G. JOLLEY, U.S. MARSHAL, WEsTERN DlsTRlcT 0F TENNEssEE, MEMPHls, TN AND A. C.

G|LLESS, SHER|FF.
YOU ARE HEREBY COMMANDED to have ALANDUS LANE, appear before the HONORABLE U.S.
MAG|STRATE JUDGE TU M. PHAM on the date and time aforementioned.

ENTERED this (Lday of y , 2005.

 

u.s. MAdlsTRATE JuDGE

This document entered on the docket eet in compliance
with Fi.ile 55 and/or 32rb) FRC.rP on _§'./._Z,__G_."

 

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This notice confirms a copy of the document docketed as number 41 in
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August 12, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

